Case: 1:20-cv-05639 Document #: 1 Filed: 09/22/20 Page 1 of 7 PageID #:1
Case: 1:20-cv-05639 Document #: 1 Filed: 09/22/20 Page 2 of 7 PageID #:2
Case: 1:20-cv-05639 Document #: 1 Filed: 09/22/20 Page 3 of 7 PageID #:3
Case: 1:20-cv-05639 Document #: 1 Filed: 09/22/20 Page 4 of 7 PageID #:4
Case: 1:20-cv-05639 Document #: 1 Filed: 09/22/20 Page 5 of 7 PageID #:5
Case: 1:20-cv-05639 Document #: 1 Filed: 09/22/20 Page 6 of 7 PageID #:6
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